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                              1    David S. Gingras, #021097
                                   Gingras Law Office, PLLC
                              2    4802 E. Ray Road, #23-271
                                   Phoenix, AZ 85044
                              3    Tel.: (480) 264-1400
                                   Fax: (480) 248-3196
                              4    David@GingrasLaw.com
                              5    John B. Berryhill, Esq. (PA Bar # 83911; Pro Hac Vice Application Pending)
                                   John B. Berryhill LLC
                              6    1300 MacDade Blvd., Suite 1
                                   Folsom, PA 19033
                              7    (610) 565-5601 (voice/fax)
                                   john@johnberryhill.com
                              8
                                   Attorneys for Plaintiff
                              9
                                   Domdevelo OÜ
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                              11
                                                             UNITED STATES DISTRICT COURT
                              12
                                                                 DISTRICT OF ARIZONA
                              13
                              14   Domdevelo OÜ,                             Case No._______________
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                                   An Estonian Limited Company,
  4802 E. RAY ROAD, #23-271




                              15
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                                                                             COMPLAINT FOR:
                              16          Plaintiff,                         1.) DECLARATORY RELIEF
                                                                             LANHAM ACT, 15 U.S.C.
                              17   v.                                        §1114(2)(D)(iv) and §1125 (a) and
                                                                             2.) REVERSE DOMAIN NAME
                              18
                                   Foris Limited,                            HIJACKING ANTICYBERSQUATTING
                              19   A Hong Kong Limited Company,              CONSUMER PROTECTION ACT,
                                                                             15 U.S.C. § 1114(2)(D)(v) and §1125(d)
                              20          Defendant.
                              21
                              22          For its Complaint, Plaintiff Domdevelo OÜ (“Domdevelo”) alleges as follows:

                              23               NATURE OF THE CONTROVERSY/JUDISCTION/VENUE

                              24          1.     This is a civil action for Declaratory Judgment under the Lanham Act, 15

                              25   U.S.C. §§ 1114(a) and 1125(a); and reverse domain name hijacking in violation of the

                              26   Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1114(2)(D)(v), concerning the

                              27   internet Domain Name, Cripto.com, registered and maintained in this Judicial District

                              28   under a contract with non-party GoDaddy.com, LLC of Tempe, Arizona.
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                               1          2.      This Court has personal jurisdiction over Defendant as it consented to
                               2   jurisdiction by this court in selecting “Registrar” as “Mutual Jurisdiction” for resolution
                               3   of this matter, in a Complaint filed with the World Intellectual Property Organization
                               4   (WIPO) in accordance with Paragraph 3(b)(xii) of the Uniform Domain Dispute
                               5   Resolution Policy (UDRP) of the International Committee of Assigned Names and
                               6   Numbers (ICANN), and made effective as to the Domain Name in a registration contract
                               7   with GoDaddy.com, LLC of Tempe, Arizona.
                               8          3.      Venue in this Court exists as the office of the Registrar of the domain
                               9   name, GoDaddy.com, LLC. is located in Tempe, Maricopa County, Arizona, and,
                              10   pursuant to 28 U.S.C. § 1391(b)(1) and (c), as under subsection (b)(2) because a
                              11   substantial part of the events giving rise to the claims alleged in this Complaint occurred
                              12   in this District.
                              13                                            PARTIES
                              14          4.      Plaintiff, Domdevelo OÜ, is an Estonian Osaühing, or limited company its
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                              15   office at Zemnieku 40 Rezekne, Latvia.
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                              16          5.      On information and belief, Defendant, Foris Limited (“Foris”), is a Hong
                              17   Kong Limited Company, having an office at Unit 1506-07, 15/F, Pacific Plaza 410 Des
                              18   Voeux Road West Sai Wan Hong Kong.
                              19                            NATURE OF THE CONTROVERY
                              20          6.      This is an action for Declaratory Judgment and certain other statutory
                              21   remedies under the Trademark laws of the United States and the Anticybersquatting
                              22   Consumer Protection Act (“ACPA”) 15 U.S.C. §1125(d). The Plaintiff is the registrant of
                              23   the internet domain name Cripto.com. The domain name has been “locked” by the
                              24   registrar, GoDaddy.com, LLC, as an intended result of the actions of Defendant, as the
                              25   Defendant seeks transfer of the benefits of the registration contract of the domain name.
                              26   In particular, the Defendant has invoked a dispute provision of the registration contract
                              27   with GoDaddy.com LLC claiming trademark rights with respect to Plaintiff's registration
                              28   of the domain name Cripto.com. The Plaintiff seeks a determination by this court that the
                                                                               2
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                               1   Plaintiff’s registration and/or use of Cripto.com is not an infringement, a threat of
                               2   dilution of Defendant’s claimed trademark rights nor a violation of the ACPA.
                               3                          FACTS COMMON TO ALL CLAIMS
                               4          7.     This case involves “reverse domain name hijacking,” which occurs when an
                               5   individual or an entity may allege that it is the owner of a trademark and assert spurious
                               6   claims of trademark infringement and trademark dilution against the owner of a domain
                               7   name whose chosen domain name is allegedly similar or identical to the trademark.
                               8   Defendant is attempting to wrest control of Plaintiff’s domain name by asserting baseless
                               9   allegations of trademark infringement, trademark dilution and cybersquatting.
                              10          8.     Plaintiff is organized under the laws of Estonia and chartered to conduct
                              11   business relating to “activities of web portals”.
                              12          9.     In the course of its business, Plaintiff acquires and uses for business
                              13   purposes, various generic domain names as and when they become available, for
                              14   development, leasing, resale or other services.
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                              15          10.    For example, Plaintiff owns and has developed a Polish-language online
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                              16   games site at Gry.io (where “Gry” is Polish for “games”). Plaintiff has also acquired for
                              17   future development or sale, such domain names as Check.id, TraderView.com,
                              18   CryptoAlert.ai, and CryptoFree.com, which have commercial utility due to the generic,
                              19   dictionary-word terms embodied within them.
                              20          11.    The disputed domain name Cripto.com was first registered on September
                              21   23, 2002.
                              22          12.    Plaintiff purchased the disputed domain name through an online domain
                              23   name marketplace administered in this judicial district by GoDaddy.com LLC at a total
                              24   cost of US $74,976 dollars on November 24, 2021, constituting a price of $62,480 and an
                              25   applicable value-added tax assessed by GoDaddy amounting to $12,496.00.
                              26          13.    The word “Cripto” is Italian for the element Krypton and is the first-person
                              27   singular present indicative form of criptare – “to encrypt”.
                              28
                                                                                 3
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                               1          14.    As a prefix “Cripto-” is the correct spelling, and has the same meaning as
                               2   prefix “crypto-” used in English, in Catalan, Galician, Italian, Portuguese, Spanish, and
                               3   other languages deriving the same root term from the Ancient Greek κρυπτός (kruptós,
                               4   “hidden, secret”).
                               5          15.    Having the same generic meanings as the root “crypto-“ in various
                               6   languages, the term “crypto-” and the corresponding internet domain name cripto.com
                               7   has wide commercial applicability and prospective value for a wide variety of
                               8   applications derived from its generic meaning in many languages.
                               9          16.    On March 08, 2024 Plaintiff filed with the United States Patent and
                              10   Trademark Office (“USPTO”), US Application Serial No. 98/440,552 for registration of
                              11   the service mark “CRIPTO.COM” for “Entertainment services, namely, casino gaming;
                              12   Entertainment services, namely, providing a website for on-line gambling; Gambling
                              13   services; Online gaming services in the nature of casino gambling; Providing online
                              14   computer games”.
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                              15          17.    On information and belief, Defendant conducts no entertainment services in
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                              16   the nature of a website for on-line gambling, Gambling services, online gaming services
                              17   in the nature of casino gambling, or providing online computer games.
                              18          18.    In November 2024, pursuant to Plaintiff's contract with GoDaddy.com
                              19   LLC, Defendant filed a Complaint thereby initiating an administrative dispute proceeding
                              20   in accordance with the Uniform Domain Name Dispute Resolution Policy (“UDRP”)
                              21   against the Plaintiff for the domain name Cripto.com. On notice of Defendant’s
                              22   Complaint, and as result intended by the Defendant, the registrar of the domain name,
                              23   GoDaddy.com LLC “locked” the domain name, thereby prohibiting Plaintiff from
                              24   utilizing the domain name in accordance with the uses typically enjoyed by a registrant of
                              25   a domain name.
                              26          19.    As of the date of the filing of this complaint, the domain name continues to
                              27   be “locked” pending the UDRP decision.
                              28
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                               1          20.      In the UDRP Complaint, the Defendant admits its objective is to obtain
                               2   control of the Cripto.com domain name which is the subject of a registration agreement
                               3   with registrar GoDaddy.com in this judicial district
                               4          21.      In the UDRP Complaint, the Defendant falsely alleges:
                               5           “The Complainant owns a large international trademark
                               6           portfolio for its CRYPTO.COM marks, including, but not
                                           limited to:
                               7           [...]
                                           United States of America trademark registration number
                               8
                                           7251243, registered on 26 December 2023;
                               9           United States of America trademark registration number
                                           7227026, registered on 28 November 2023"
                              10
                              11          22.      The "United States of America trademark registration" numbers referenced
                              12   in Defendant's UDRP Complaint are application numbers which matured into trademark
                              13   registrations which are not, in fact, owned by the Defendant and have never been owned
                              14   by the Defendant.
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                              15          23.      The US trademark registrations (US TM Reg. Nos. 7,227,026 and
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                              16   7,251,243) asserted by the Defendant in the UDRP Complaint are registered by the
                              17   United States Patent and Trademark Office to a Foris Technology Pte Ltd, a Singapore
                              18   limited company who is not a party to the UDRP Proceeding or this Action.
                              19          24.      The US trademark registrations asserted, but not owned, by the Defendant
                              20   in the UDRP Complaint were accorded the following effective filing dates and registered
                              21   in the US on:
                                                         US TM Reg.          Filed               Registered
                              22
                                                         7,227,026           May 17, 2022        Nov. 28, 2023
                              23
                                                         7,251,243           Jan. 31, 2022       Dec. 26, 2023
                              24
                              25          25.      The US trademark registrations asserted, but not owned by, Defendant,
                              26   were each registered more than two years junior to Defendant’s acquisition of the domain
                              27   name Cripto.com in November 2021, and more than twenty three years junior to
                              28   registration of the domain name in September 2000.
                                                                             5
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                               1          26.    During prosecution of the trademark registrations asserted, but not owned
                               2   by, Defendant, the USPTO initially required disclaimer of the “crypto.com” textual
                               3   component as merely descriptive. In responses filed in June and July 2023 in each
                               4   application, the applicant thereof alleged that the “crypto.com” component had, as of
                               5   those dates, become distinctive under Section 2(f) of the Lanham Act, and the
                               6   registrations subsequently issued as what is referred to as “2(f) in part” with respect to the
                               7   “crypto.com” textual component.
                               8          27.    The claims of acquired distinctiveness in the asserted US trademark
                               9   registrations are junior to registration of the domain name, and also to Plaintiff's
                              10   acquisition of the domain name.
                              11          28.    The US trademark registrations asserted, but not owned, by the Defendant
                              12   in the UDRP Complaint are each for the combined graphical and text logo:
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                              16
                              17
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                              20          29.    Plaintiff does not and has not used the mark shown in the asserted US
                              21   trademark registration, or any colorable imitation thereof, in connection with Plaintiff's
                              22   registration and use of the domain name Cripto.com.
                              23          30.    In addition to the combined graphical and text logo, the owner thereof has
                              24   filed US TM Application Serial No. 98/428,205 for the purely textual mark
                              25   “CRYPTO.COM”.
                              26          31.    As of November 11, 2024, US TM Application Serial No. 98/428,205 for
                              27   the purely textual mark “CRYPTO.COM” has been refused by the USPTO in an Official
                              28   Action stating:
                                                                                 6
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                               1                "Ultimately, when purchasers encounter applicant's goods and
                               2                services in connection with the proposed mark CRYPTO.COM,
                                                they will immediately understand the mark merely as describing a
                               3                feature of the goods and services. Therefore, the applied-for mark
                                                is merely descriptive, and registration is refused pursuant to
                               4                Section 2(e)(1) of the Trademark Act."
                               5
                               6          32.    While the Defendant does not own any of the trademark registrations or
                               7   application noted above, the Defendant had previously filed US Application No.
                               8   88/026,072 for the logo:
                               9
                              10
                              11
                              12
                              13          33.    The Defendant's registration attempt was refused by the USPTO in an
                              14   Official Action stating:
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                                                "Applicant must disclaim the wording “CRYPTO.COM” because
                              16                it merely describes an ingredient, quality, characteristic, function,
                              17                feature, purpose, or use of applicant’s goods and/or services, and
                                                thus is an unregistrable component of the mark."
                              18
                              19          34.    The Defendant further owns various pending, unregistered applications
                              20   relating to various claims in the phrase “CRYPTO.COM ARENA” in relation to
                              21   sponsorship of a sports venue in Los Angeles, California.
                              22          35.    Plaintiff does not and has not used “CRYPTO.COM ARENA”, or any
                              23   colorable imitation thereof, in connection with Plaintiff's registration and use of the
                              24   domain name Cripto.com, and Plaintiff is not engaged in the operation or sponsorship of
                              25   a sports arena.
                              26          36.    Plaintiff reasonably believes its registration and use of the domain name is
                              27   lawful under the Lanham Act and under the Anti-Cybersquatting Consumer Protection
                              28   Act.
                                                                                7
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                               1           37.   At no time, did the Plaintiff register or use the domain name Cripto.com in
                               2   “Bad Faith” as defined by 15 U.S.C. §1125.
                               3           38.   Due to the lock imposed by the registrar in this judicial district, and the
                               4   imminent threat of transfer of the domain name to the Defendants, Plaintiff has brought
                               5   this action for a determination under 15 U.S.C. §1114(2).
                               6           39.   This Court has subject matter jurisdiction under 15 U.S.C. §1114(2)(D)(v)
                               7   to determine whether Plaintiff’s registration and use of Cripto.com in this judicial district
                               8   is lawful under the ACPA and the Lanham Act.
                               9           40.   Based on the facts set forth herein, an actual controversy has arisen and
                              10   now exists between Plaintiff and Defendant regarding whether or not Plaintiff’s
                              11   registration and use of the term Cripto.com as its domain name infringes Defendant’s
                              12   trademarks and/or constitutes trademark dilution and/or can serve as the basis for any
                              13   relief under any Federal or state law.
                              14           41.   At all times, Plaintiff utilized the domain name in a bona fide manner for
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                              15   bona fide purposes.
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                              16           42.   Plaintiff has not had any intent to divert consumers from the mark owner's
                              17   online location to a site accessible under the domain name that could harm the goodwill
                              18   represented by the mark, either for commercial gain or with the intent to tarnish or
                              19   disparage the mark, by creating a likelihood of confusion as to the source, sponsorship,
                              20   affiliation, or endorsement of the site.
                              21           43.   Plaintiff has not provided material and misleading false contact information
                              22   when applying for the registration of the domain name. Plaintiff did not fail to maintain
                              23   accurate contact information with respect to the domain name in question or with respect
                              24   to any other domain name.
                              25           44.   Plaintiff’s use of Cripto.com is a fair or otherwise lawful use of the term.
                              26           45.   Because of the actions of Defendant, and its claims of trademark
                              27   infringement and dilution, Plaintiff faces losing valuable rights in its Internet domain
                              28   name.
                                                                                8
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                               1                             FIRST CLAIM FOR RELIEF
                               2                                 Declaratory Judgment
                                                     Lanham Act, 15 U.S.C. §§ 1114(2)(D)(v) & 1125(a)
                               3
                               4          46.    Plaintiff incorporates by reference the factual allegations set forth in
                               5   Paragraphs 7 through 45 above.
                               6          47.    The ACPA, provides a cause of action for a registrant whose domain name
                               7   has been suspended, disabled, or transferred by which the registrant may sue for a
                               8   declaration that the registrant is not in violation of the Act and for an injunctive relief to
                               9   the domain name registrant, including the reactivation of the domain name. 15 U.S.C.§
                              10   1114(2)(D)(v).
                              11          48.    Section 1114(2)(D)(v) provides a registrant who is threatened with the loss
                              12   of its domain name under the UDRP with a cause of action for an injunction returning the
                              13   domain name if the registrant can show that the registrant is in compliance with the
                              14   ACPA.
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                              15          49.    In its UDRP Complaint, Defendant has falsely asserted ownership of US
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                              16   trademark registrations which Defendant does not, in fact, own.
                              17          50.    In its UDRP Complaint, the Defendant certified the Complaint to be
                              18   “complete” in relation to material facts. Nonetheless, the Defendant did not mention its
                              19   own attempt to register a “CRYPTO.COM” trademark with the USPTO, which was
                              20   refused by the USPTO as merely descriptive, and abandoned. The Defendant further
                              21   omitted mention of the USPTO refusal of a further non-graphical “CRYPTO.COM” filed
                              22   by the non-party entity Fortis Technology Pte Ltd.. The Defendant’s certification of the
                              23   UDRP Complaint as “complete” was false.
                              24          51.    Defendant did not possess trade or service mark rights under the Lanham
                              25   Act at the time of registration of the domain name.
                              26          52.    The domain name Cripto.com was not registered, nor acquired by the
                              27   Plaintiff, with the bad faith intent to profit from the goodwill of defendant.
                              28
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                               1          53.    Plaintiff is entitled to have the unencumbered and lawful registration and
                               2   use of the domain name Cripto.com and to have the domain name reactivated and to have
                               3   any and all suspensions or transfers terminated and prohibited.
                               4          54.    Unless this Court issues a Judgment that Plaintiff is entitled to maintain
                               5   registration of its Domain Name, Cripto.com, the threatened transfer of the Domain
                               6   Name to Defendant will damage Plaintiff irreparably. Plaintiff has no adequate remedy at
                               7   law.
                               8          55.    Defendant’s acts make this an exceptional case under 15 U.S.C. §1117(a),
                               9   and Plaintiff is thus entitled to an award of attorney’s fees and costs.
                              10          56.    Alternately, Plaintiff is entitled to elect statutory damages instead of actual
                              11   damages and profits, pursuant to 15 U.S.C. §1117 (d).
                              12
                                                             SECOND CLAIM FOR RELIEF
                              13
                                                    Anticybersquatting Consumer Protection Act (ACPA)
                              14                            15 U.S.C. § 1125(d) and § 1114(2)(D)
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                              15          57.    Plaintiff incorporates by reference the factual allegations set forth in
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                              16   Paragraphs 7 through 45 above.

                              17          58.    15 U.S.C. § 1114(2)(D)(iv) provides that when a registrar takes an action to

                              18   transfer a domain name “based on a knowing and material misrepresentation by any other

                              19   person that a domain name is identical to, confusingly similar to, or dilutive of a mark,

                              20   the person making the knowing and material misrepresentation shall be liable for any

                              21   damages, including costs and attorneys’ fees, incurred by the domain name registrant as a

                              22   result of such action.”

                              23          59.    In its UDRP Complaint, the Defendant has made knowing and material

                              24   misrepresentations that it owns trademark rights to which the domain name is identical to

                              25   or confusingly similar. Defendant does not, in fact, own the US trademark registrations

                              26   asserted in the UDRP Complaint.

                              27          60.    Section 1114(2)(D)(v) provides a registrant may “file a civil action to

                              28   establish that the registration or use of the domain name by such registrant is not
                                                                                 10
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                               1   unlawful under this Act.” Under this section, a “court may grant injunctive relief to the
                               2   domain name registrant, including the reactivation of the domain name or transfer of the
                               3   domain name back to the domain name registrant.”
                               4          61.    Plaintiff's registration and use of the domain Name Cripto.com was not
                               5   unlawful under Title 15, United States Code, § 1114(2)(D)(v) or §1125(d).
                               6          WHEREFORE, Plaintiff Domdevelo OÜ prays for judgment against Defendant
                               7   as follows:
                               8          A.     For a declaration by the Court, that Defendants has no trademark rights in
                               9   the domain name Cripto.com that are subject to protection in the United States;
                              10          B.     For a declaration by the Court, pursuant to 15 U.S.C. § 1114(2)(D)(iv)(v),
                              11   Plaintiff is entitled to registration, ownership and use of the domain name Cripto.com;
                              12          C.     For a declaration by the Court, pursuant to 28 U.S.C. § 2201, Plaintiff’s
                              13   registration of the Domain Name Cripto.com is lawful and does not infringe on any trade
                              14   or service mark right the Defendant may claim in the United States;
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                              15          D.     For a declaration by the Court that Defendant has attempted unlawfully to
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                              16   interfere with Plaintiff’s rights and expectations under its domain name registration.
                              17          E.     Damages according to proof at trial;
                              18          G.     Cost and expenses, including costs under 15 U.S.C. § 1114(2)(D)(iv)-(v)
                              19   and reasonable attorneys fees; and
                              20          H.     For such other and further relief as this Court deems just and proper.
                              21   DATED: December 20, 2024.
                              22                                                    GINGRAS LAW OFFICE, PLLC
                              23
                              24                                                    David S. Gingras, Esq.
                              25                                                    Attorney for Plaintiff
                                                                                    Domdevelo OÜ
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                               1                                          JURY DEMAND
                               2
                               3   Demand for Jury Trial Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,
                               4   Plaintiff respectfully requests a trial by jury of all issues so triable.
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